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                                                                       17                                  UNITED STATES BANKRUPTCY COURT

                                                                       18                 CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION

                                                                       19 In re                                              Case No. 2:20-bk-13530-BR

                                                                       20 JADELLE JEWELRY AND DIAMONDS,                      Chapter 7
                                                                          LLC,
                                                                       21                                                    OPPOSITION TO TRUSTEE’S MOTION
                                                                                                                             FOR AN ORDER APPROVING
                                                                       22                                                    DISMISSAL OF CHAPTER 7 CASE AND
                                                                                              Debtor.                        FOR PAYMENT IN COMPROMISE AND
                                                                       23                                                    SETTLEMENT OF ADMINISTRATIVE
                                                                                                                             FEES; MEMORANDUM OF POINTS AND
                                                                       24                                                    AUTHORITIES; DECLARATION OF
                                                                                                                             BARUCH C. COHEN IN SUPPORT
                                                                       25                                                    THEREOF

                                                                       26                                                    DATE: June 15, 2021
                                                                                                                             TIME: 10:00 a.m.
                                                                       27                                                    PLACE: Courtroom “1668”

                                                                       28


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                                                                        1                     Creditors, Victor Franco Noval (“Noval”), Peter Marco, LLC (“Marco”), and

                                                                        2 First International Diamond, Inc. (“First International” and together with Noval and Marco,

                                                                        3 the “Creditors”), hereby submit their “Opposition to Trustee’s Motion for An Order

                                                                        4 Approving Dismissal of Chapter 7 Case and for Payment in Compromise and Settlement

                                                                        5 of Administrative Fees; Memorandum of Points and Authorities; Declaration of Baruch C.

                                                                        6 Cohen in Support Thereof” (the “Opposition”), in response to the “Trustee’s Motion for An

                                                                        7 Order Approving Dismissal of Chapter 7 Case and for Payment in Compromise and

                                                                        8 Settlement of Administrative Fees; Memorandum of Points and Authorities; Declaration of

                                                                        9 Sam S. Leslie in Support Thereof” (the “Motion”), filed by Sam S Leslie (the “Trustee”),

                                                                       10 the duly appointed, qualified, and acting chapter 7 trustee for the estate of the debtor
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                                                                       11 Jadelle Jewelry and Diamonds, LLC (the “Debtor”), and represent as follows:
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                                                                       12                                                     I.

                                                                       13                                       PREFATORY STATEMENT

                                                                       14                     In order to avoid the limitations on the voluntary dismissal of non-individual
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                                                                       15 cases codified in 11 U.S.C. § 707(a), the Trustee has disguised his dismissal motion as a

                                                                       16 motion to compromise under Rule 9019(a), when, in fact, there is no pending dispute or

                                                                       17 claim being compromised. Inexplicably, rather than proceed with the pursuit of tens of

                                                                       18 millions of dollars of potentially avoidable and recoverable transfers, the Trustee instead

                                                                       19 has capitulated and decided to do a deal with the devil, in the process allowing Jona

                                                                       20 Rechnitz, the perpetrator of this massive fraud, to buy his way out of this case.

                                                                       21                     More troubling (to Creditors, that is) is Trustee’s representation that the

                                                                       22 funds for this so-called compromise (which only will inure to the benefit of the Trustee

                                                                       23 and his professionals) are not being paid by Jona or Rachel Rechnitz (they “have no

                                                                       24 funds of their own, they have procured funds from third party sources, family and

                                                                       25 friends”), but instead are coming from JSR Capital, LLC (“JSR”) and McCadden Property

                                                                       26

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                                                                        1 Group (“McCadden”).1 This revelation, which the Creditors learned not from the Trustee,

                                                                        2 but from the Rechnitz’s counsel, is particularly concerning, especially when the Trustee

                                                                        3 relies on the “Rechnitz’s have no money” charade as further justification for the

                                                                        4 dismissal.2

                                                                        5                     Incredibly, the source of the $215,000 payoff is nowhere to be found in the

                                                                        6 Motion or the operative settlement agreement. In other words, the Rechnitz’s almost

                                                                        7 certainly are using fraudulently procured funds transferred to these two entities to

                                                                        8 convince the Trustee to cut his losses to the extreme prejudice of Creditors and other

                                                                        9 potential creditors, who the Trustee has not even attempted to contact.

                                                                       10                     In fact, despite proclaiming that “no creditors other than Petitioning
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                                                                       11 Creditors have surfaced or filed proofs of claim,” the Trustee remarkably has not set a
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                                                                       12 notice of claims bar date and did not even bother to serve the Motion on the multitude of

                                                                       13 potential creditors, including the recipients of avoidable transfers who would become

                                                                       14 creditors to the extent that any portion of the transfers were returned to the estate
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                                                                       15 pursuant to 11 U.S.C. 502(h). At a minimum, the Trustee should have noticed the Motion

                                                                       16 to each potential creditor of the estate.

                                                                       17                     In short, the Court should be as shocked as Creditors are that the Trustee

                                                                       18 is simply walking away and abandoning this case just weeks after demand letters were

                                                                       19 sent to countless recipients of potentially avoidable transfers. The Trustee’s own

                                                                       20 financial advisor - CBIZ Valuation Group - identified nearly $50 million in potentially

                                                                       21 avoidable transfers. Abandoning these valuable claims, without even identifying the

                                                                       22
                                                                            1
                                                                       23    Creditors were further advised that the payment allocation of the $215,000 is 86% (JSR Capital, LLC) and
                                                                            $14% (McCadden Property Group). JSR is Jona Rechnitz’s private real estate development and
                                                                            management company. Further, the Debtor’s produced Signature Bank records reveal that in a brief six
                                                                       24   month period between February 8, 2018, and August 20, 2018, the Debtor transferred at least $590,000 to
                                                                            JSR. McCadden is also one of Jona’s or his family’s entitles. See declaration of Baruch C. Cohen, affixed
                                                                       25   hereto.
                                                                            2
                                                                       26     Creditors dispute the insinuation that the Rechnitz’s are cash poor or do not have the resources to satisfy
                                                                            any judgment or even contribute to this settlement. Creditors are presently aware of numerous recent
                                                                       27   instances of Jona Rechnitz flashing his wealth to others in other less than honest schemes, which further
                                                                            undermines the reasons supporting this Motion.
                                                                       28


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                                                                        1 universe of demands or the initial responses, is appalling. At a minimum, Creditors

                                                                        2 should be afforded the opportunity to conduct discovery on the Trustee on this and other

                                                                        3 relevant issues.

                                                                        4                     Simply put, the Rechnitz’s are being rewarded for the criminal acts, their

                                                                        5 failure to comply with the Trustee’s document requests, and their failure to testify under

                                                                        6 oath by asserting their Fifth Amendment privilege.3 Granting the Motion would set a

                                                                        7 dangerous precedent; recalcitrant and fraudulent debtors would be given the green light

                                                                        8 to stonewall trustees, refuse to comply with their statutory duties to provide testimony and

                                                                        9 documents, and then use the ill-gotten gains of their criminal acts to secure dismissal of a

                                                                       10 case by only paying a portion of the claims of the trustee and his professionals.
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                                                                       11                     The Court cannot countenance this highly prejudicial result, especially
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                                                                       12 based on the paltry evidentiary record supplied by the Trustee. If the Trustee is no longer

                                                                       13 vested in this case, then he should resign and allow the United States Trustee to

                                                                       14 interview and appoint a new trustee who will pursue the Debtor, the Rechnitz’s, and the
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                                                                       15 recipients of these improper transfers to pay off the claims of the true victims of the

                                                                       16 Debtor’s and the Rechnitz’s fraud.

                                                                       17                                                       II.

                                                                       18       THE EVENTS LEADING TO THE ENTRY OF THE ORDER FOR RELIEF WARRANTS

                                                                       19        A MORE VIGOROUS AND TRANSPARENT ADMINISTRATION OF THIS ESTATE

                                                                       20                     Although the Trustee pay little homage to the events which led this Court to

                                                                       21 enter an order for relief, it bears repeating that this Court came to realize that the Debtor

                                                                       22 was, in fact, a criminal enterprise being used as a front by a convicted felon and his wife

                                                                       23 to defraud legitimate creditors out of millions of dollars of cash and precious gems.

                                                                       24

                                                                       25
                                                                            3
                                                                       26     To draw an analogy to the legislative comments to 11 U.S.C. § 727, debtors cannot buy their discharge,
                                                                            which, in essence, is what the Rechnitz’s are doing here. See In re Smith, 207 B.R. 177, 178 (Bankr. N.D.
                                                                       27   Ind. 1997) (regardless of lack of objections of other parties, if successful prosecution of Section 727
                                                                            proceeding will benefit entire creditor body, action may not be settled in return for private benefit).
                                                                       28


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                                                                        1            A.       Events Leading to Entry of Order for Relief and Appointment of

                                                                        2                     Trustee

                                                                        3                     As a reminder, the Debtor was incorporated in December 2017. Like its

                                                                        4 predecessor Jadelle, Inc. (“Jadelle Inc.” and together with the Debtor, the “Jadelle

                                                                        5 Entities”), the Debtor was formed for the sole purpose of giving its controlling principals

                                                                        6 and insiders, Jona and Rachel Rechnitz an air of legitimacy. Both Jona and Rachel

                                                                        7 advertised political and powerful celebrity connections to create a false sense of

                                                                        8 credibility about themselves and their business, posting photos on their social media of

                                                                        9 Kylie Jenner and Kim Kardashian, among others. However, once the veil was lifted, it

                                                                       10 became apparent that the Debtor was nothing more than a sham entity for Jona to run his
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                                                                       11 fraudulent enterprise, even following being sentenced after pleading guilty to numerous
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                                                                       12 fraud and bribery related charges.

                                                                       13                     Although the Rechnitz’s tried to cajole this Court into believing that the

                                                                       14 Debtor was a legitimate business enterprise which was conducting jewelry shows, selling
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                                                                       15 merchandise, and paying its creditors, nothing could be further from the truth. In fact, the

                                                                       16 Debtor was the model case for why 11 U.S.C. § 303 was enacted; to allow aggrieved

                                                                       17 creditors to force a non-paying entity into chapter 7 so an independent trustee can

                                                                       18 recover and liquidate property and recover unauthorized transfers for the benefit of the

                                                                       19 estate.

                                                                       20                     As a result, on April 6, 2020, Creditors commenced an involuntary chapter 7

                                                                       21 petition against the Debtor. The Debtor then filed a Rule 12(b)(6) motion to dismiss the

                                                                       22 involuntary petition, arguing that Creditors’ claims were the subject of bona fide disputes

                                                                       23 as to amount and, therefore, they could not qualify as petitioning creditors. Over

                                                                       24 Creditors’ objection, this Court found that there were, indeed, disputes as to the amount

                                                                       25 of Creditors’ claims, such that they did not qualify as petitioning creditors under 11 U.S.C.

                                                                       26 § 303(b). However, seeing the Debtor for what it was, the Court followed Ninth Circuit

                                                                       27 law and ordered the Debtor, through Jona and Rachel, to provide sworn testimony

                                                                       28 regarding the Debtor’s creditors so Creditors could locate additional victims willing to join


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                                                                        1 the involuntary petition. The Debtor was warned that if it failed to comply, an order for

                                                                        2 relief would be entered.

                                                                        3                     As such, on June 10, 2020, the Court entered its “Order: (1) Directing

                                                                        4 Rachel Rechnitz and Jona Rechnitz to File Joint Declaration Under Penalty of Perjury; (2)

                                                                        5 Setting Date By Which Petitioning Creditors May Contact Creditors Identified in Joint

                                                                        6 Declaration and Conduct Certain Discovery; (3) Setting Date for Hearing On Status

                                                                        7 Conference; and (4) Setting Date for Filing of Joint Status Report Prior to Status

                                                                        8 Conference” (the “June 10 Order”) requiring the Debtor, through its sole member Rachel,

                                                                        9 and her felon husband Jona, to do the following:

                                                                       10                     •        File a joint declaration, sworn under penalty of perjury, which
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                                                                       11 identifies each and every one of the Debtor’s creditors as of the date of the filing of the
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                                                                       12 involuntary petition on April 6, 2020. The joint declaration was to include, without

                                                                       13 limitation, the following information with respect to each creditor identified therein:

                                                                       14                              a.       name of the creditor;
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                                                                       15                              b.       the nature of the debt owed to the creditor (e.g., consigned

                                                                       16 jewelry, rent due and owing, etc.);

                                                                       17                              c.       the amount of the creditor’s claim;

                                                                       18                              d.       whether the creditor’s claim is disputed and, if so, the nature

                                                                       19 of the dispute; and

                                                                       20                              e.       complete contact information for each creditor including, but

                                                                       21 not limited to, the creditor’s address, telephone number, cell phone number (if known),

                                                                       22 fax number (if applicable), and email address (if known); and

                                                                       23                     •        File a joint declaration no later than 3:00 p.m. on Tuesday, June 16,

                                                                       24 2020, with the Court and serve the declaration on counsel for the petitioning creditors.

                                                                       25                     The June 10 Order also provided that if the Rechnitz’s failed to file the joint

                                                                       26 declaration by June 16, 2020, the Court would deny the debtor’s Rule 12(b)(6) motion

                                                                       27 and immediately enter an order for relief in this case.

                                                                       28                     It came as no surprise, since Jona is a felon and a fraudster, and his wife


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                                                                        1 was wholly complicit as the managing member of this criminal organization which preyed

                                                                        2 on the Orthodox Jewish community and other residents in Beverly Hills area, that the

                                                                        3 Debtor and the Rechnitz’s ignored the Court’s June 10 Order. The sinister nature of this

                                                                        4 case is further evidenced by Jona repeatedly using his false adherence to Orthodox

                                                                        5 Judaism as a way to get the victims to trust him to steal their money and their

                                                                        6 merchandise.

                                                                        7                     In fact, repeatedly during the June 9, 2020, hearing on the Debtor’s Rule

                                                                        8 12(b)(6) motion, the Court admonished the Debtor’s counsel that it was not concerned

                                                                        9 with any issue other than compliance with the Court’s orders. The Court was clear that if

                                                                       10 the Rechnitz’s, who were the undisputed owners and operators of the Debtor, refused to
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                                                                       11 provide the creditor lists, no matter the reason, the Court would enter an order for relief.
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                                                                       12 This is exactly what occurred, and the Trustee was appointed.

                                                                       13            B.       The Trustee’s Attempted Administration of the Estate

                                                                       14                     The false narrative running throughout the Motion is that the Trustee
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                                                                       15 basically is without recourse since the Debtor, the Rechnitz’s, and Levin Prado (“Prado”)

                                                                       16 (one of the Debtor’s employees and the signatory on numerous checks) have refused to

                                                                       17 comply with court orders due to their Fifth Amendment concerns. To state the obvious,

                                                                       18 the corporate-debtor has no Fifth Amendment rights, and the Trustee has more than

                                                                       19 sufficient ammunition or remedies at his disposal to administer this case despite the

                                                                       20 Rechnitz’s and Prado’s recalcitrance.

                                                                       21                     The Court need look no further than the related cases of In re Girardi

                                                                       22 Keese, bearing Case No. 2:20-bk-21022-BR, and In re Thomas Vincent Girardi, bearing

                                                                       23 Case No. 2:20-bk-21020-BR, where each of the trustees have encountered similar

                                                                       24 obstacles, including the invocation of the Fifth Amendment privilege, but are continuing to

                                                                       25 pursue assets. Debtors attempting to shield assets and thwart trustee’s recoveries is

                                                                       26 nothing new, and should not be a roadblock here.

                                                                       27                     To reiterate, the Trustee’s own financial advisor identified $50 million in

                                                                       28 potentially avoidable transfers, as well as transfers exceeding $2,300,000 from the Wells


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                                                                        1 Fargo Bank account to the Signature Bank account. Although the Motion references that

                                                                        2 “demand letters to certain of the persons identified who received large payments from the

                                                                        3 Debtor” were sent, there is nothing more. No list of demands, no amount of demands, no

                                                                        4 identity of the recipients of demands, and no summary of responses to demands. How

                                                                        5 can this Court weigh whether the demands have been given any chance of success

                                                                        6 when the Trustee refuses to disclose these most basic and crucial facts. And if current

                                                                        7 counsel is unwilling to continue with their representation, has the Trustee attempted to

                                                                        8 locate contingency counsel who may be interested in taking on $50 million worth of

                                                                        9 avoidance power claims? Again, there is no information showing what alternate efforts

                                                                       10 the Trustee has made to secure contingency counsel for these valuable claims.
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                                                                       11                     In addition, the Trustee references a $19,000,000 restitution judgment
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                                                                       12 against Jona entered in a New York court in favor of the United States as evidence of a

                                                                       13 further obstacle to his efforts to effectively administer this estate. Frankly, this is

                                                                       14 nonsensical. First, the criminal restitution order that the Trustee misstates has priority
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                                                                       15 over the Trustee is on appeal and is not a final order. Second, the judgment was capped

                                                                       16 at $10 million to be paid at a rate of $500,000 per year, not $19 million. See declaration

                                                                       17 of Baruch C. Cohen, affixed hereto. Finally, and most importantly, what claims against

                                                                       18 Jona is the Trustee even pursuing? He certainly failed to identify any pending or

                                                                       19 threatened claims that this appealed judgment would impair. In other words, this non-

                                                                       20 final judgment has no bearing at all on potential avoidance power actions against third

                                                                       21 parties who received payments from the Rechnitz’s or the Debtor, or direct claims against

                                                                       22 the Rechnitz’s.

                                                                       23                     Also irrelevant is whether Marco has dismissed his civil case or the

                                                                       24 contentions regarding investigations of Noval. Each of these parties possess valid claims

                                                                       25 that the Trustee has made no attempt to review or investigate before casting aspersions

                                                                       26 on their allowability. Instead, the Trustee takes the word of Jona, which is the ultimate

                                                                       27 act of irony.

                                                                       28                     These are simply phantom and uncredible issues for the Trustee to hide


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                                                                        1 behind while he lets the Rechnitz’s and scores of recipients of avoidable transfers off the

                                                                        2 hook. To cavalierly state that once the case is dismissed Creditors can now do the job

                                                                        3 the Trustee was appointed to do is insulting, and cannot form the basis for dismissal.

                                                                        4                                                       III.

                                                                        5                     DISMISSAL IS EXTREMELY PREJUDICIAL TO CREDITORS

                                                                        6                                           AND MUST BE DENIED

                                                                        7                     Generally, dismissal of a non-individual chapter 7 case is governed by 11

                                                                        8 U.S.C. § 707(a), which provides that:

                                                                        9                     The court may dismiss a case under this chapter only after

                                                                       10                     notice and a hearing and only for cause, including –
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                                                                       11                     (1)      unreasonable delay by the debtor that is prejudicial to
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                                                                       12                     creditors;

                                                                       13                     (2)      nonpayment of any fees or charges required under

                                                                       14                     chapter 123 of title 28; and
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                                                                       15                     (3)      failure of the debtor in a voluntary case to file, within

                                                                       16                     fifteen days or such additional time as the court may allow

                                                                       17                     after the filing of the petition commencing such case, the

                                                                       18                     information required by paragraph (1) of section 521(a), but

                                                                       19                     only on a motion by the United States trustee.

                                                                       20                     The next question involves what constitutes dismissal for “cause” under

                                                                       21 Section 707(a). As illustrated, the statute contains three examples of “cause”:

                                                                       22 unreasonable delay by the debtor, failure to pay statutory fees, and failure to file the

                                                                       23 required schedules, statement of financial affairs, or other statutorily prescribed

                                                                       24 documents. These examples are illustrative rather than exhaustive. See In re Tallman,

                                                                       25 417 B.R. 568, 575 (N.D. Ind. 2009). While courts seem to agree that the list of what

                                                                       26 constitutes cause for dismissal under Section 707(a) is longer than the three items

                                                                       27 enumerated in the statute, there is a broad divergence of opinion as to what items belong

                                                                       28 on that list. See In re Bushyhead, 525 B.R. 136 (Bankr. N.D. Okla. 2015). To establish


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                                                                        1 “cause,” the bankruptcy court must balance the equities and consider the benefit and

                                                                        2 prejudice of dismissal, such as loss of assets to creditors. See In re Marra, 179 B.R. 782,

                                                                        3 785 (M.D. Pa. 1995). At all times, the burden of proof is on the party seeking dismissal.

                                                                        4 In re McDaniel, 350 B.R. 616 (Bankr. M.D. Fla. 2006); In re Stephenson, 262 B.R. 871

                                                                        5 (Bankr. W.D. Okla. 2001).

                                                                        6                     The Trustee, however, is not moving to dismiss under Section 707(a),

                                                                        7 perhaps realizing that, since he has been able to construct a general ledger and was able

                                                                        8 to identify $50 million in potentially avoidable transfers, he likely has no ability to satisfy

                                                                        9 the “cause” requirement of this section. For instance, the Trustee certainly has not

                                                                       10 shown that he is unable to effectively and adequately administer the estate, since he has
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                                                                       11 not made a showing that information about the Debtor is not available from other
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                                                                       12 sources. In fact, the opposite is true; the Trustee successfully obtained scores of bank

                                                                       13 records (often with the Creditors’ assistance and guidance) and, as noted, was able to

                                                                       14 construct a general ledger and send out demand letters.
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                                                                       15                     The fact that the Rechnitz’s and Prado have invoked their Fifth Amendment

                                                                       16 privilege also does not support dismissal. Generally, dismissal of a case is an

                                                                       17 impermissible penalty for the proper invocation of rights under the Fifth Amendment. See

                                                                       18 Lefkowitz v. Cunningham, 431 U.S. 801, 97 S. Ct. 2132, 53 L. Ed. 2d 1 (1977) (party may

                                                                       19 not be punished for invoking the Fifth Amendment privilege against self-incrimination).

                                                                       20 There simply is no basis for this Court to conclude that the Rechnitz’s or Prado’s refusal

                                                                       21 to testify precludes a fair and effective administration of the Debtor’s estate.

                                                                       22                     In In re Romany, 2006 Bankr. LEXIS 3807, 2006 WL 3898376 (Bankr.

                                                                       23 D.P.R. 2006), for example, after it was discovered that the debtor failed to disclose

                                                                       24 significant assets and had, post-petition, transferred over $1,000,000 without court

                                                                       25 authorization, and, at a 11 U.S.C. § 341(a) creditors meeting, the debtor invoked his Fifth

                                                                       26 Amendment rights and refused to answer questions relating to his assets, the debtor then

                                                                       27 moved to dismiss the chapter 7 pursuant to Section 707(a). Noting that the burden was

                                                                       28 on the debtor to demonstrate “cause” and that “cause” was not defined in the Code, the


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                                                                        1 court held that cause had not been shown and the motion was denied.

                                                                        2                     First, the court rejected as meritless the debtor’s claims that since he could

                                                                        3 not be forced to testify, estate administration was not feasible, noting that the chapter 7

                                                                        4 trustee had already advised that he could administer the estate without debtor’s

                                                                        5 testimony. Nor was the existence of an ongoing criminal inquiry a reason for dismissal.

                                                                        6 Finally, the totality of the circumstances did not favor dismissal. Similarly here, the

                                                                        7 Trustee is more than capable, but simply is unwilling, to administer the Debtor’s estate.

                                                                        8 There is no evidence indicating, let alone proving, that the Trustee has been impaired in

                                                                        9 any manner in administering this estate.

                                                                       10                      The Court, therefore, should reject the Trustee’s assertion that “cause”
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                                                                       11 exists to dismiss this case merely because the Debtor, the Rechnitz’s, and Prado have
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                                                                       12 been less than forthcoming. See also In re Buffington, 2007 Bankr. LEXIS 3910, 2007

                                                                       13 WL 4125985 (Bankr. S.D. Tex. 2007) (debtor’s motion to dismiss case was denied under

                                                                       14 Section 707(a) where debtor invoked his Fifth Amendment privilege since debtor
SulmeyerKupetz,




                                                                       15 continued to retain property of bankruptcy estate and the debtor’s willingness to repay a

                                                                       16 portion of administrative expenses of bankruptcy estate began to address only

                                                                       17 administrative expenses of the bankruptcy and not claims of creditors).

                                                                       18                     Even if the Motion is viewed under the lens of Rule 9019(a), the request for
                                                                       19 dismissal must be denied.

                                                                       20                     When a bankruptcy trustee seeks authority to compromise a single claim or

                                                                       21 dispute, the criteria by which this request is reviewed is well established:

                                                                       22                     This particular process of bankruptcy court approval [of the

                                                                       23                     trustee’s motion to settle] requires a bankruptcy judge to

                                                                       24                     assess and balance the value of the claim that is being

                                                                       25                     compromised against the value to the estate of the

                                                                       26                     acceptance of the compromise proposal. Taking our cue

                                                                       27                     from Protective Committee Stockholders of TMT Trailer

                                                                       28                     Ferry, Inc. v. Anderson, 390 U.S. 414, 424-25, 88 S. Ct.


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                                                                        1                     1157, 20 L. Ed. 2d 1 (1968), we recognize four criteria that a

                                                                        2                     bankruptcy court should consider in striking this balance: (1)

                                                                        3                     the probability of success in litigation; (2) the likely difficulties

                                                                        4                     in collection; (3) the complexity of the litigation involved, and

                                                                        5                     the expense, inconvenience and delay necessarily attending

                                                                        6                     it; and (4) the paramount interest of the creditors. See In re

                                                                        7                     Neshaminy Office Bldg. Assocs., 62 B.R. 798, 803 (E.D. Pa.

                                                                        8                     1986).

                                                                        9 In re Martin, 91 F.3d 389, 395 (3d Cir. 1996). See also In re A&C Properties, 784 F.2d

                                                                       10 1377, 1381 (9th Cir. 1986), cert. denied, 479 U.S. 854, 107 S. Ct. 189, 93 L. Ed. 2d 122
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                                                                       11 (1986); Port O’Call Investment Co. v. Blair (In re Blair), 538 F.2d 849, 851 (9th Cir. 1976).
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                                                                       12                     Although the judgment of a bankruptcy fiduciary may be given some
                                                                       13 deference, nevertheless, a court cannot simply approve a settlement because the trustee

                                                                       14 so moves. In re American Reserve Corp., 841 F.2d 159 (7th Cir. 1987). The trustee
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                                                                       15 must demonstrate that the proposed settlement is in the best interest of the estate. See

                                                                       16 In re Hydronic Enterprise, Inc., 58 B.R. 363, 366 (Bankr. D.R.I. 1986) (“even if it is

                                                                       17 concluded that the settlement is above the lowest level of reasonableness, in our

                                                                       18 discretion we may still deny approval, if not in the best interest of the estate”).

                                                                       19                     Here, the first question which must be answered is what is being

                                                                       20 compromised? The settlement agreement (the “Agreement”) attached to the Motion

                                                                       21 contains no information suggesting that there is any pending or contemplated claim

                                                                       22 against the Debtor, Prado, or either of the Rechnitz’s. Indeed, the Agreement’s recitals

                                                                       23 merely recount the history of events leading to entry of the order for relief, and

                                                                       24 summarize the litany of made-up excuses for the Trustee’s wholesale abandonment of

                                                                       25 this case. There clearly is no claim that is being compromised by this so-called

                                                                       26 settlement, and the Trustee cannot circumvent Section 707(a) by cloaking his dismissal

                                                                       27 in the context of a settlement and Rule 9019(a) motion.

                                                                       28                     Truth be told, the Trustee is settling nearly $50 million of potential


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                                                                        1 avoidance power claims for a mere $215,000. So even if the A&C Properties standard

                                                                        2 for judging Rule 9019(a) motions is applied, this settlement cannot survive scrutiny. The

                                                                        3 Trustee fails to demonstrate with any evidence, much less credible or admissible

                                                                        4 evidence, the probability of success in litigation, the likely difficulties in collection, the

                                                                        5 complexity of the litigation involved, and the expense, inconvenience and delay

                                                                        6 necessarily attending it, and whether the paramount interest of the creditors favors

                                                                        7 settlement.

                                                                        8                     This settlement is unlike any of the compromises with which the Court is

                                                                        9 usually presented in a Rule 9019 motion. That is because there is no complex, protracted

                                                                       10 or expensive litigation between these parties; in actuality, there is no litigation at all
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                                                                       11 between the Trustee and the Rechnitz’s. Thus, the final A&C Properties factor is
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                                                                       12 dispositive here, in other words, the paramount interests of creditors. Since the

                                                                       13 Agreement only serves the interests of the Debtor, the Rechnitz’s, the Trustee, and the

                                                                       14 Trustee’s professionals, it provides no benefit to creditors and, to be sure, by abandoning
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                                                                       15 this case and the valuable claims, it constitutes an overall detriment to this estate. See

                                                                       16 Fort v. Tryon Clear View Grp., LLC (In re AuditHead, LLC), 625 B.R. 319 (Bankr. D.S.C.

                                                                       17 2021) (if creditor opposes settlement terms by asserting the estate is giving up more than

                                                                       18 it should, or that creditor’s rights are being impaired, then creditor’s protest should be

                                                                       19 seriously considered and evidence will guide the court in considering approval of the

                                                                       20 settlement).

                                                                       21                     At a bare minimum, the Court should defer ruling on the Motion until

                                                                       22 Creditors have been afforded the opportunity to conduct discovery and present the Court

                                                                       23 with a more accurate picture of this case, and why dismissal is extremely prejudicial and

                                                                       24 not in the best interests of creditors.

                                                                       25                                  [Remainder of page intentionally left blank]

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                                                                        1                                                   IV.

                                                                        2                                             CONCLUSION

                                                                        3                     There is a complete absence of “cause” warranting dismissal of the

                                                                        4 Debtor’s case. The Trustee’s frustration, or his professionals' reluctance to continue

                                                                        5 working, does not justify this highly prejudicial Motion. Ultimately, whether fashioned as a

                                                                        6 Section 707(a) or Rule 919(a) motion, dismissal only should be approved when it is in the

                                                                        7 best interests of creditors. Here, the only parties benefitting from dismissal are the

                                                                        8 Rechnitz’s, the Trustee, and his professionals. Creditors are left holding the bag, and

                                                                        9 telling them they are now free to fend for themselves is of little comfort. The Motion must

                                                                       10 be denied.
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                                                                       11 DATED: June 1, 2021                         SulmeyerKupetz
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                                                                                                                      A Professional Corporation
                                                                       12

                                                                       13

                                                                       14                                             By: /s/ Daniel A. Lev         _________________
                                                                                                                          Daniel A. Lev
SulmeyerKupetz,




                                                                       15                                                 Attorneys for Victor Franco Noval, Peter
                                                                                                                          Marco, LLC, and First International Diamond,
                                                                       16                                                 Inc.
                                                                       17 DATED: June 1, 2021                         Law Offices of Ronald Richards & Associates, APC
                                                                       18

                                                                       19
                                                                                                                      By: /s/ Ronald Richards       _________________
                                                                       20                                                 Ronald Richards
                                                                                                                          Attorneys for Victor Franco Noval
                                                                       21
                                                                            DATED: June 1, 2021                       Law Office of Baruch C. Cohen, APLC
                                                                       22

                                                                       23

                                                                       24
                                                                                                                      By: /s/ Baruch C. Cohen
                                                                       25                                                 Baruch C. Cohen
                                                                                                                          Attorneys for Peter Marco, LLC and First
                                                                       26                                                 International Diamond, Inc.

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                                                                        1                                  DECLARATION OF BARUCH C. COHEN

                                                                        2                     I, Baruch C. Cohen, declare and state:

                                                                        3                     1.       I am a member of the State Bar of California and am duly authorized

                                                                        4 to practice before this Court. I am the principal shareholder and President of The Law

                                                                        5 Office of Baruch C. Cohen, A Professional Law Corporation, and I am one of the

                                                                        6 attorneys principally responsible for the representation of Peter Marco, LLC (“Marco”) and

                                                                        7 First International Diamond, Inc. (“First International”) in the above-captioned case. Each

                                                                        8 of the facts contained in this declaration is based on my personal knowledge and, if

                                                                        9 called as a witness, I could and would competently testify thereto.

                                                                       10                     2.       I make this declaration in support of the “Opposition to Trustee’s
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                                                                       11 Motion for An Order Approving Dismissal of Chapter 7 Case and for Payment in
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                                                                       12 Compromise and Settlement of Administrative Fees; Memorandum of Points and

                                                                       13 Authorities; Declaration of Baruch C. Cohen in Support Thereof” (the “Opposition”), filed

                                                                       14 in response to the “Trustee’s Motion for An Order Approving Dismissal of Chapter 7 Case
SulmeyerKupetz,




                                                                       15 and for Payment in Compromise and Settlement of Administrative Fees; Memorandum of

                                                                       16 Points and Authorities; Declaration of Sam S. Leslie in Support Thereof” (the “Motion”),

                                                                       17 filed by Sam S Leslie (the “Trustee”), the duly appointed, qualified, and acting chapter 7

                                                                       18 trustee for the estate of the debtor Jadelle Jewelry and Diamonds, LLC (the “Debtor”).

                                                                       19                     3.       As noted, I represent both Marco and First International, who are

                                                                       20 owed approximately $6,950,444.40 and $1,976,225.00, respectively, by the Debtor. I

                                                                       21 also represent other creditors of the Debtor and the Rechnitz’s, including, without

                                                                       22 limitation, Julius Klein Diamonds, LLC (owed at least $4,766,019), TIME Design LLC

                                                                       23 (owed at least $243,800 - LASC Case No. 20STCV27119), and H&T Goldman

                                                                       24 Corporation (owed at least $670,000). Thus, so far I represent approximately

                                                                       25 $14,606,488 in claims against the debtor and the Rechnitz’s. None of my clients have

                                                                       26 filed proofs of claim against the Debtor’s estate since, as of this date, the Trustee has not

                                                                       27 set a claims bar date or otherwise advised creditors through a Notice of Possible

                                                                       28 Dividends that proofs of claim should be filed.


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                                                                        1                     4.       As detailed in the Opposition, the fact that no claims bar date has

                                                                        2 been set is troubling since, on April 28, 2021, the Trustee’s own financial advisor - CBIZ

                                                                        3 Valuation Group - filed an application with this Court that identified $50 million in potential

                                                                        4 avoidable transfers. See Docket No. 200. Yet, the Trustee’s Motion does not provide

                                                                        5 any facts or details on the Trustee’s efforts to collect and recover the $50 million for the

                                                                        6 benefit of creditors of the estate.

                                                                        7                     5.       The Trustee’s statement that since Marco’s civil action was

                                                                        8 dismissed, Marco either is not a creditor or has no legitimate claims against the Debtor is

                                                                        9 incorrect. Although Marco’s third party complaint was dismissed, it was dismissed

                                                                       10 without prejudice due to a pending claim for insurance. In this regard, on or about March
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                                                                       11 18, 2020, plaintiff David Rovinsky LLC (“Rovinsky”) initiated an action in the United
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                                                                       12 States District Court, Central District of California, bearing Case No. 2:20-cv-02580-

                                                                       13 ODW-AS, seeking $1,130,000 in damages against Marco, alleging claims for negligence,

                                                                       14 conversion, fraud, negligent misrepresentation, aiding and abetting conversion, and civil
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                                                                       15 theft based on a ring and necklace that Jona Rechnitz stole (the “Rovinsky Action”).

                                                                       16                     6.       On April 14, 2020, I filed an answer on Marco’s behalf in the

                                                                       17 Rovinsky Action and concurrently filed a third-party complaint (the “Third Party

                                                                       18 Complaint”) against Rechnitz, for, among other things, intentional misrepresentation and

                                                                       19 fraud, civil theft (Penal Code § 496), embezzlement, civil conspiracy to commit theft,

                                                                       20 fraud, fraud by concealment, conversion, breach of contract, breach of the implied

                                                                       21 covenant of good faith and fair dealing, account stated, and unethical business practices

                                                                       22 in violation of California Business & Professions Code § 17200, alleging that Rechnitz is

                                                                       23 the real culprit and the one responsible for Rovinsky’s claims against Marco. The facts

                                                                       24 all relate to the frauds committed by the Debtor, along with its controlling principals and

                                                                       25 insiders Jona and Rachel Rechnitz. The Third-Party Complaint sought compensatory

                                                                       26 damages in the amount of at least $6,950,444.40 for the frauds committed by Jona on

                                                                       27 behalf of the Debtor.

                                                                       28                     7.       On August 21, 2020, Marco’s insurance company, Lloyd’s of London,


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                                                                        1 commenced an action against Marco styled Those Interested Underwriters at Lloyd’s of ,

                                                                        2 London, Subscribing to Policy Number: B0901EE1905358000; Lazar Diamonds, Inc., v.

                                                                        3 Peter Marco, LLC, Peter Voutsas, pending in the Superior Court for the State of

                                                                        4 California, County of Los Angeles, bearing Case No. 20STCV32013 (the “Insurance

                                                                        5 Action”). A true and correct copy of the complaint filed in the Insurance Action is

                                                                        6 attached hereto as Exhibit “A" and incorporated herein by reference. Settlement

                                                                        7 discussions have commenced and are ongoing regarding the Insurance Action.

                                                                        8                     8.       Because of the ongoing settlement discussions regarding the

                                                                        9 Insurance Action, on October 20, 2020, Marco stipulated with the Rechnitz third-party

                                                                       10 defendants to dismiss, without prejudice, Marco’s Third Party Complaint in the Rovinsky
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                                                                       11 Action. A true and correct copy of the October 30, 2020, stipulation for dismissal filed in
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                                                                       12 the Rovinsky Action is attached hereto as Exhibit “B” and incorporated herein by

                                                                       13 reference.

                                                                       14                     9.       With respect to the source of funds for the settlement, the Motion
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                                                                       15 states that “[r]Representing they have no funds of their own, they have procured funds

                                                                       16 from third party sources, family and friends to provide the Settlement Amount as defined

                                                                       17 herein.” The Trustee repeats this in paragraph 10 of his declaration in support of the

                                                                       18 Motion. However, this statement has now been proven to be false. On May 24, 2021,

                                                                       19 David Zolkin, counsel for the Rechnitz’s, confirmed that the wire originators for the

                                                                       20 $215,000 settlement payment were JSR Capital, LLC (“JSR”) and McCadden Property

                                                                       21 Group (“McCadden”). However, both companies belong to Jona Rechnitz, undermining

                                                                       22 the Trustee’s representations to the Court.

                                                                       23                     10.      Jona Rechnitz is the founder of JSR Capital, LLC, a private real

                                                                       24 estate development and management company. A true and correct copy of JSR Capital,

                                                                       25 LLC’s zoom company profile showing that Jona Rechnitz is president and owner is

                                                                       26 attached hereto as Exhibit “C" and incorporated herein by reference.

                                                                       27                     11.      McCadden also is owned by Jona Rechnitz. As detailed in the

                                                                       28 unlawful detainer action styled Wilshire Courtyard, L.P., a Delaware Limited Partnership


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                                                                        1 vs. McCadden Property Group, LLC, a Delaware Limited Liability Company, pending in

                                                                        2 the Superior Court for the State of California, County of Los Angeles, bearing Case No.

                                                                        3 19STCV20364 (the Unlawful Detainer Action”), the lease in question was signed by Jared

                                                                        4 Rechnitz (Jona’s brother) and Rachel Rechnitz (maiden name Kahn) on behalf of

                                                                        5 McCadden. Jona and Rachel Rechnitz personally guaranteed the lease in question. The

                                                                        6 lease also provides the addresses to McCadden as follows: “McCadden Property Group,

                                                                        7 LLC, 441 West End Avenue, Apt. No. 12A, New York, New York 10024, Attn: Jona

                                                                        8 Rechnitz” and “McCadden Property Group, LLC, 5700 Wilshire Boulevard, Suite 355, Los

                                                                        9 Angeles, California 90036, Attn: Jona Rechnitz.”. A true and correct copy of the Unlawful

                                                                       10 Detainer Action is attached hereto as Exhibit “D" and incorporated herein by reference.
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                                                                       11                     12.      Further, I reviewed the Debtor’s produced Signature Bank records
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                                                                       12 that reveal that in a brief six month period between February 8, 2018, and August 30,

                                                                       13 2018, the Debtor transferred at least $590,000 to JSR. A summary of the transfers is as

                                                                       14 follows:
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                                                                       15 DATE                DESCRIPTION                                            AMOUNT

                                                                       16 2-8-2018            wr Fed#00901 Signature Bank /Ftr/Bnf=Jsr Capital       $100,000
                                                                                              Srf#0011642038525692 Trn#180208101422
                                                                       17
                                                                            3-1-2018          wr Fed#08070 Signature Bank /Ftr/Bnf=Jsr Capital       $20,000
                                                                       18
                                                                                              LLC Srf#0000814059540674 Trn#180301153797
                                                                       19
                                                                            3-9-2018          wr Fed#05601 Signature Bank /Ftr/Bnf=Jsr Capital       $75,000
                                                                       20                     LLC Srf#0000814068831855 Trn#180309140406
                                                                       21 3-22-2018           wr Fed#06947 Signature Bank /Ftr/Bnf=Jsr Capital       $50,000
                                                                       22
                                                                            3-23-2018         wr Fed#05682 Signature Ban/ /Ftr/Bnf=Jsr Capital       $50,000
                                                                       23                     LLC

                                                                       24 3-28-2018           wr Fed#04437 Signature Bank /Ftr/Bnf=Jsr Capital       $20,000
                                                                                              Srf#0000814087309627 Trn#180328130500
                                                                       25

                                                                       26 4-10-2018           WT Fed#02123 Signature Bank/Org=Jsr Capital LLC $20,000
                                                                                              Srf#1713 Trn#180410141983
                                                                       27
                                                                            4-11-2018         WT Fed#01241 Signature Bank/Org=Jsr Capital LLC $65,000
                                                                       28                     Srf#1337 Trn#180411120483


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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 333
South Grand Avenue, Suite 3400, Los Angeles, CA 90071.

A true and correct copy of the foregoing document entitled (specify): OPPOSITION TO TRUSTEE’S MOTION FOR AN
ORDER APPROVING DISMISSAL OF CHAPTER 7 CASE AND FOR PAYMENT IN COMPROMISE AND SETTLEMENT
OF ADMINISTRATIVE FEES; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF BARUCH C.
COHEN IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 June 1, 2021 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                         Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date) June 1, 2021, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

The Honorable Barry Russell
U.S. Bankruptcy Court
Roybal Federal Building
255 E. Temple Street, Suite 1660
Los Angeles, CA 90012


                                                                                         Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                      , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.



                                                                                         Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 June 1, 2021                              Cheryl Caldwell                                      /s/Cheryl Caldwell
 Date                                      Printed Name                                         Signature




CC 2704248v1 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
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                                                 ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

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June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
